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                                                            Tuesday, 14 July,
                                                                         V 1.02020  09:41:10 AM
                                                                              3/19/20
                                                                 Clerk, U.S. District Court, ILCD

       Instructions for Connection to Cisco Meeting
                     Video Conference
Step 1. Open Google Chrome and copy/paste the following link into the address bar:



 https://join.uc.uscourts.gov/invited.sf?secret=xDxMcCvt7Xgy95G3AHB7PA&id=007395538



Step 2. Once the webpage loads, type the defendant’s name into the Your Name field
and select the Join Meeting button.
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Step 3: On the next screen, select the little lock icon on the top near the address
bar and make sure that both the Camera and Microphone settings are set to
allow. There is a webcam preview available on this screen so make sure that the
defendant and whoever else needs to be in the room with him or her are both
visible. There is also a bar that shows the microphone level. Please make sure
your microphone is in working order and that you can be heard on the video
call. After verifying camera and microphone are connected, hit Join Meeting.
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Step 4: Once you reach this screen, you have now entered the meeting. Please
wait for the courtroom to connect their side, if they have not already.
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NOTE: If you happen to disconnect from the hearing before it is finished, you will
come across a screen like this:




The Sign In and Join Meeting links will not allow you to re-join the meeting. The
only way to get back into the hearing is to follow the process again from Step 1
of this document.


If you have ANY issues connecting or are having difficulties hearing / seeing the
judge or anything on the federal courtroom side, please contact:

 Aaron Wilder                             Dustin Henry
 Information Services Specialist (Peoria) Information Technology Administrator
 (309) 201-2127 CELL                      (217) 492-4005
 OR
 (309) 671-7180 DESK

 Rhonda Fleming
 Information Services Specialist
 (217) 398-5247
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